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10

11
                             UNITED STATES DISTRICT COURT

12
                CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION

13
     ARYA TOUFANIAN, an individual,             Case No.: 2:19-cv-07934-DMG-SS
14

15         Plaintiff,                           Assigned to the Hon. Dolly M. Gee
                                                Courtroom 8C
16         v.
17                                              PLAINTIFF’S OPPOSITION TO
     KYLE OREFFICE, an individual; GIVE         DEFENDANTS’ MOTION TO
18   BACK MEDIA, LLC, a Georgia limited         STRIKE THE COMPLAINT UNDER
19   liability company; and DOES 1-10,          CAL. CODE OF CIVIL PROCEDURE
                                                § 425.16
20
           Defendants.
21                                              Date: July 24, 2020
                                                Time: 9:30 a.m.
22                                              Courtroom: 8C
23
                                                Case filed: September 12, 2019
24                                              Trial: none set
25

26

27

28
       PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE THE COMPLAINT
                     UNDER CAL. CODE OF CIVIL PROCEDURE § 425.16
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 2
             Having neither answered the complaint nor denied the allegations against them,
 3
     Defendants ask the Court to dismiss Plaintiff’s case at the pleadings stage without the
 4
     parties conducting any discovery and after many months of Defendants’ willful
 5
     resistance to service of process. It is inappropriate to dismiss Plaintiff’s claims at this
 6
     early point. The Court should also dispense with Defendants’ anti-SLAPP motion
 7
     because Defendants do not satisfy their burden under the first prong of anti-SLAPP
 8
     analysis. The evidence that Defendants present is inadmissible, and insufficient to show
 9
     their statements about Plaintiff were made in connection with a matter of public concern
10
     or to further a public issue, or that Plaintiff is a public figure. The Court should deny
11
     Defendants’ motion.
12
     II.     CONFERENCE OF COUNSEL
13
             On June 19, 2020, Shanen Prout, counsel for Plaintiff, and Robert Tauler, counsel
14
     for Defendants, discussed the present special Motion to Strike (“Motion”). Declaration
15
     of Shanen R. Prout, (“Prout Decl.”), ¶ 2. Mr. Tauler informed Plaintiff’s counsel that
16
     Defendants planned to re-file their Motion and that it would largely be the same as their
17
     prior motion to strike the Complaint. Mr. Tauler stated he believed the Motion would
18
     be asserted to attack only the sufficiency of the claims as alleged. Plaintiff’s counsel
19
     informed Mr. Tauler that Plaintiff would oppose the Motion, and that to the extent it
20
     attacked the evidentiary support for the Complaint’s allegations, Plaintiff would seek
21
     leave to conduct discovery and possibly also amend the Complaint. Id. Defense
22
     counsel wrote Plaintiff’s counsel to confirm their conversation. Prout Decl., ¶ 3, Ex. A.
23
             After receiving the Motion, on June 27, Plaintiff’s attorney wrote to defense
24
     counsel on June 27 to seek clarification of the statement at page 1, footnote 1 of the
25
     Motion concerning whether Defendants were litigating the Motion on a motion to
26
     dismiss standard. Id. ¶ 4, Ex. B. Plaintiff’s counsel expressed concern that the Motion
27
     was in fact seeking to have the Court weigh evidence. Id. ¶ 4, Ex. B. Defense counsel
28                                          -1-
           PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE THE COMPLAINT
                         UNDER CAL. CODE OF CIVIL PROCEDURE § 425.16
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 1
     responded by assuring Plaintiff’s counsel that Defendants were litigating the Motion on
 2
     only a Federal Rule of Civil Procedure 12(b)(6) motion to dismiss standard. Id. ¶ 4, Ex.
 3
     B.
 4
            On June 29, the parties’ counsel again spoke to discuss whether to reschedule the
 5
     hearing on the Motion to allow Defendants to conduct discovery for opposition to the
 6
     Motion. Defense counsel reiterated that the Motion was not seeking to test the evidence
 7
     to support Plaintiff’s claims and that Defendants brought the Motion under FRCP
 8
     12(b)(6) standards. Prout Decl., ¶ 5.
 9
     III.   PROCEDURAL POSTURE
10
            Plaintiff Arya Toufanian filed this action on September 12, 2019. For
11
     approximately nine months, Plaintiff attempted numerous times to serve the Summons
12
     and Complaint on Defendants, but was unsuccessful due to their refusal to accept
13
     service. The Court granted Plaintiff’s ex parte application to serve process by
14
     publication and Plaintiff completed service on May 29, 2020.
15
            Defendants first appeared in this action by way of their Motion. Defendants have
16
     not answered the Complaint. The Motion neither denies any of the Complaint’s
17
     allegations nor presents evidence to attempt to controvert the allegations, except to
18
     suggest that Mr. Toufanian is somehow a “public figure.” The parties have not
19
     propounded any written discovery or deposed any witnesses. The Court has not set an
20
     initial scheduling conference.
21
     IV.    STATEMENT OF FACTS
22
            In granting Plaintiff’s ex parte application to serve process by publication, the
23
     Court noted: “Plaintiff appears to have stated facts sufficient to constitute a cause of
24
     action against Defendants.” (Doc. #15, 02:15-16).
25
            A.    The allegations against Defendants
26
            This is an online defamation and unfair competition case between business
27
     competitors. Both Plaintiff and Defendants market and provide their services through
28                                      -2-
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     the Internet and social media. Defendants appears online to be in a very similar line of
 2
     work as Plaintiff, and the parties share the same profile of customers and business
 3
     prospects. Complaint (“Compl.”) ¶ 4.
 4
           Plaintiff is engaged in the business of providing stock-trading information and
 5
     other data and investment methods to individuals and businesses through the Internet
 6
     and social media. Compl. ¶ 10. Plaintiff operates his businesses through Instagram and
 7
     other portals. Id. He is the owner and operator of a private business that is neither well-
 8
     known nor has it achieved any appreciable degree of fame or recognition. Id.
 9
           Defendant Give Back Media, LLC (“GBM”) is a limited liability company in
10
     Georgia. Complaint ¶ 6. Oreffice is and was during all times relevant to the Complaint
11
     an owner, manager, and executive officer of GBM. Id. ¶ 5. Oreffice committed the acts
12
     alleged in the Complaint as an owner, manager and executive officer of GBM, and for
13
     the benefit of GBM. Id.
14
           Throughout 2018 and 2019, Defendants communicated directly with individuals
15
     and businesses through one or more of Defendants’ websites published on the Internet
16
     and through social media to call Plaintiff a “scammer” and “The Douche of Wall
17
     Street.” Compl. ¶ 10. The individuals and businesses who saw these publications are
18
     customers of Plaintiff and/or are or were interested in paying for Plaintiff’s services. Id.
19
           Defendants are engaged throughout the United States in the business of providing
20
     information relating to the purchase and sale of equities. Compl. ¶ 11. Defendants are
21
     the owners and operators of a website located at www.quantumstocktrading.com
22
     (“Quantumstocktrading.com”). Id. Defendants conduct business throughout the
23
     United States under the name Quantumstocktrading.com. Id. Defendants also conduct
24
     business throughout the U.S. through publications on the Internet and social media
25
     under the moniker “Quantum Stocks.” Id. Quantumstocktrading.com’s homepage
26
     proclaims: “Welcome to Quantum Stocks. Our team has successfully demonstrated
27
     their trading abilities by helping our current members make over $100,000 in gains this
28                                      -3-
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     month alone!!” Id. ¶ 12.
 2
           Quantumstocktrading.com also includes a published page titled “The Douche of
 3
     Wall Street: How Arya Toufanian Scams Innocent Investors” and can be found through
 4
     a link on the site’s homepage with the heading “Don’t Get Scammed!” and located
 5
     online at https://www.quantumstocktrading.com/aryascam/. Id. ¶ 13. Among other
 6
     accusations about Mr. Toufanian that Defendants have stated on
 7
     Quantumstocktrading.com, Defendants published the following:
 8
           •      “The owner of I’m Shmacked, Arya Toufanian, is certainly proficient at
 9
     taking money from people over the internet through elaborate, hyped-up
10
     schemes”;
11
           •      “Furthermore, he [Plaintiff] has stolen content from free Discord servers
12
     and posted it in his paid Discord. The real icing on the cake, however, is the fact that
13
     he claims these are onetime charges – which numerous, numerous members have
14
     verified to be entirely false”;
15
           •      “Not only did Arya scam his ‘students’ by charging them thousands to set
16
     up a Shopify store (something anyone can do for free in less than 5 minutes), he went a
17
     step further by creating a pyramid scheme of scams in which his students
18
     (unbeknownst to them) were effectively scamming even more people!”; and,
19
           •      “Thinking like a real scammer, Arya decided to enter into the stock advice
20
     space with his @aryastocks program (formerly @stocks), in which he uses the
21
     influence of his I’m Shmacked account to pedal [sic] his ‘exclusive’ stock advice. The
22
     story of these scammy trading servers is long and illustrious. We owe it to the public to
23
     expose these elaborate schemes such as this, and have created our program Quantum
24
     Stocks with the goal of providing real, time-relevant, valuable trading information to
25
     our members. Arya is currently charging brand-new, unsuspecting investors up to
26
     $500 (previously up to $1000+) for access to a Discord server with virtually zero
27
     activity, with promises of stock scanners and helpful admins that are virtually non-
28                                      -4-
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     existent. Each package, regardless of price, gets you access to the same chat room…
 2
     yep, you read that right: the $500 package is IDENTICAL to the $60 option.” Compl. ¶
 3
     13; Exs. 1 & 2 to the Complaint.
 4
           The above publications remain live on the Internet and accessible and viewable
 5
     by persons throughout the world. Id. ¶ 15. Defendant Oreffice authored the above
 6
     publications and caused them to be published on Quantumstocktrading.com with the
 7
     knowledge and intent that they would be seen by persons and businesses located
 8
     throughout the United States, including within California. Id. ¶ 16. Plaintiff’s friends,
 9
     acquaintances, customers and likely customers, and/or work colleagues have been
10
     exposed to and/or have read “The Douche of Wall Street: How Arya Toufanian Scams
11
     Innocent Investors” online, on Instagram, and/or on other social media platforms. Id. ¶
12
     17. These same persons were aware or believe that Plaintiff was in the business of
13
     providing information about stock trading very similar to, and competitive with, those
14
     offered by Defendants. Id. ¶ 18.
15
           In 2019, Defendants republished the same statements about Plaintiff on Facebook
16
     and Instagram. Compl. ¶¶ 19-23.
17
                  i.    Libel per se
18
           Plaintiff is a private citizen. Compl. ¶ 25. He is the owner and operator of a
19
     private business that is neither well-known nor has it achieved any appreciable degree
20
     of fame or recognition. Id.
21
           Defendants made the above alleged statements to persons other than Plaintiff,
22
     through Defendants’ publication of them on Defendants’ website and through Facebook
23
     and Instagram’s website and software application. Compl. ¶ 26.
24
           The third parties who saw or read Defendants’ publications reasonably
25
     understood that they were about Plaintiff. Compl. ¶ 27. Those parties also reasonably
26
     understood the publications to mean or input that Plaintiff was a fraud, Plaintiff was
27
     committing scams to wrongfully take other persons’ money, and that Plaintiff has
28                                      -5-
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 1
     “stolen” money from others. Compl. ¶ 28. Defendants’ statements are defamatory per
 2
     se. Compl. ¶ 29.
 3
           Defendants failed to use reasonable care under the circumstances to determine the
 4
     truth or falsity of their publications. Their publications lack evidentiary support.
 5
     Compl. ¶ 30.
 6
           As a proximate result of Defendants’ defamatory publications, Plaintiff has
 7
     suffered unjust embarrassment, shame, mortification, and/or hurt feelings, the loss of
 8
     his reputation, the loss of business and income in excess of $75,000. Compl. ¶ 31.
 9
     Defendants’ statements have had the effect of discouraging businesses and customers
10
     from dealing with Plaintiff, by lowering his reputation and deterring the third parties
11
     from dealing with him. Id.
12
           Defendants’ publications were a direct and substantial factor in causing
13
     Plaintiff’s harm. Compl. ¶ 32.
14
           Defendants made the above alleged statements knowingly and intentionally, with
15
     malice, and without any evidence to support them or recklessly without first conducting
16
     a reasonable and sufficient investigation into whether their publications were true or
17
     false. Defendants published their statements with a conscious disregard of Plaintiff’s
18
     rights, and with the intent to vex, injure or annoy Plaintiff. Compl. ¶ 33.
19
           Defendants’ statements have irreparably harmed and, if not enjoined, will
20
     continue to irreparably harm Plaintiff and his business reputation. Compl. ¶ 34. By
21
     reason of Defendants’ acts, Plaintiff’s remedy at law is not adequate to compensate for
22
     the injuries inflicted by Defendants. Accordingly, Plaintiff is entitled to entry of a
23
     temporary restraining order and preliminary and permanent injunctive relief against
24
     Defendants. Compl. ¶ 35.
25
                  ii.    Libel per quod
26
           In addition to the above alleged facts, Plaintiff’s second claim states that in light
27
     of the facts and circumstances known to the readers of Defendants’ publications, the
28                                      -6-
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     publications exposed Plaintiff to unjust embarrassment, hatred, contempt, ridicule or
 2
     obloquy, because they challenge his business ethics, accuse him of immorality and
 3
     crimes, and falsely claim he is associated or affiliated with illegal or unlawful conduct.
 4
     Compl. ¶ 42.
 5
                  iii.   Unfair competition in violation of California Business &
 6                       Professions Code § 17200 et seq.
 7         In addition to arguing that Plaintiff’s third claim for unfair competition fails with
 8   the defamation claims, Defendants argue that Plaintiff fails to allege that he suffered
 9   injury in fact and has lost money or property. Motion, 18:15-24. However, the
10   Complaint alleges that Defendants’ defamatory publications have caused Plaintiff to
11   suffer the loss of business and income to Plaintiff in excess of $75,000. Compl. ¶ 53.
12   Defendants’ statements have also discouraged existing and potential customers from
13   dealing with Plaintiff by lowering his reputation and deterring such customers and
14   potential customers from dealing with him. Id. Defendants have been unjustly enriched
15   to the corresponding detriment of Plaintiff as a result of their wrongful and intentional
16   conduct. Compl. ¶ 54. Under Business & Profession Code section 17203, Plaintiff is
17   therefore entitled to restitutionary relief equal to the improper gains Defendants
18   achieved at Plaintiff’s expense. Id. Defendants’ defamatory publications have directly
19   and proximately caused Plaintiff’s injuries. Compl. ¶ 55. Because of Defendants’
20   conduct Plaintiff is entitled to injunctive relief on his third claim. Compl. ¶¶ 56-57.
21         B.     Defendants’ evidence is improper and inadmissible.
22         Notwithstanding that Defendants should not present evidence on a motion to
23   dismiss for failure to state claims, and notwithstanding that Plaintiff has objected to
24   Defendants’ evidence, the sum of it shows only that the parties have animus against
25   each other and that it remains unresolved if Plaintiff is a public figure. None of the
26   statements by defendant Oreffice or his exhibits show that Defendants took any act in
27   furtherance of their “right of petition or free speech . . . in connection with a public
28                                      -7-
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     issue” (Cal. Civ. Proc. Code § 425.16(b)(1)), and none of the declarations establish the
 2
     absence of any triable issue of fact. Oreffice does not, for example, declare why he
 3
     published the defamatory statements or what steps he took to ensure that an audience
 4
     outside only his own customers might see the statements.
 5
     V.     NINTH CIRCUIT STANDARDS ON ANTI-SLAPP MOTIONS
 6
            In evaluating a California anti-SLAPP motion, courts engage in a two-part
 7
     inquiry. See Cal. Civ. Proc. Code § 425.16(b)(1). “First, a defendant ‘must make an
 8
     initial prima facie showing that the plaintiff’s suit arises from an act in furtherance of
 9
     the defendant’s rights of petition or free speech.’ . . . Second, once the defendant has
10
     made a prima facie showing, ‘the burden shifts to the plaintiff to demonstrate a
11
     probability of prevailing on the challenged claims.’” Vess v. Ciba-Geigy Corp., 317
12
     F.3d 1097, 1110 (9th Cir. 2003) (citations omitted). The plaintiff’s burden on an anti-
13
     SLAPP motion is “comparable to that used on a motion for judgment as a matter of
14
     law.” Price v. Stossel, 620 F.3d 992, 1000 (9th Cir. 2010).
15
            “Only a cause of action that satisfies both prongs of the anti-SLAPP statute—i.e.,
16
     that arises from protected speech or petitioning and lacks even minimal merit—is a
17
     SLAPP, subject to being stricken under the statute.” Navellier v. Sletten, 29 Cal.4th 82,
18
     89 (2002) (italics in text).
19
            The first step in analyzing an anti-SLAPP motion is to determine whether the
20
     defendant successfully made “an initial prima facie showing that the plaintiff’s suit
21
     arises from an act in furtherance of the defendant’s rights of petition or free speech.”
22
     Vess v. Ciba-Geigy Corp., 317 F.3d 1097, 1110 (9th Cir. 2003). California’s anti-
23
     SLAPP statute defines such an act to include:
24

25                 (1) any written or oral statement or writing made before a
26                 legislative, executive, or judicial proceeding, or any other official
                   proceeding authorized by law, (2) any written or oral statement
27                 or writing made in connection with an issue under consideration
28                                      -8-
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1                  or review by a legislative, executive, or judicial body, or any
 2                  other official proceeding authorized by law, (3) any written or
                    oral statement or writing made in a place open to the public or a
 3                  public forum in connection with an issue of public interest, or (4)
 4                  any other conduct in furtherance of the exercise of the
                    constitutional right of petition or the constitutional right of free
 5                  speech in connection with a public issue or an issue of public
 6                  interest.
 7   Cal. Civ. Proc. Code § 425.16(e).1

 8          “The latter two categories require a specific showing the action concerns a matter

 9   of public interest; the first two categories do not require this showing.” Damon v.

10   Ocean Hills Journalism Club, 85 Cal.App.4th 468, 474 (2000) (italics added).

11          A.      Defendants Make Their Motion Under a FRCP 12(b)(6) Standard.

12          In Planned Parenthood Federation of America, Inc. v. Center for Medical

13   Progress, the Ninth Circuit recently revisited the evidentiary significance of a

14   defendant’s filing of an anti-SLAPP motion in federal court. “In defending against an

15   anti-SLAPP motion, if the defendants have urged only insufficiency of pleadings, then

16   the plaintiff can properly respond merely by showing sufficiency of pleadings, and

17   there’s no requirement for a plaintiff to submit evidence to oppose contrary evidence

18   that was never presented by defendants.” Planned Parenthood Federation of America,

19   Inc. v. Center for Medical Progress, 890 F.3d 828, 834 (9th Cir. 2018), amended 897

20   F.3d 1224 (9th Cir. 2018) (holding that in this situation, the Rule 12(b)(6) standard

21   applies), accord Tensor Law P.C. v. Rubin, 2019 WL 3249595, at *4 (C.D. Cal., Apr.

22   10, 2019, No. 2:18-CV-01490-SVW-SK).

23          Opposing counsel has confirmed that Defendants are litigating their Motion on a

24   Rule 12(b)(6) standard. Prout Decl., ¶ 3, Ex. A, ¶ 4, Ex. B, ¶ 5.

25          Unlike Federal Rule of Civil Procedure 9(b)’s heightened fraud particularity

26   requirement, the Complaint needs to only meet the pleading requirement of Rule 8. A

27   1Defendants assert that the grounds in subdivision (e)(3) and (e)(4) are at issue in the Motion. Motion,
     07:19-24. Plaintiff agrees.
28                                                    -9-
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
                           UNDER CAL. CODE OF CIVIL PROCEDURE § 425.16
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 1
     pleading need only contain “a short and plain statement of the claim showing that the
 2
     pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).
 3
           In reviewing a Rule 12(b)(6) motion, a court “must accept as true all factual
 4
     allegations in the complaint and draw all reasonable inferences in favor of the
 5
     nonmoving party.” Retail Prop. Trust v. United Bhd. of Carpenters & Joiners of Am.,
 6
     768 F.3d 938, 945 (9th Cir. 2014). In light of the U.S. Supreme Court’s Twombly and
 7
     Iqbal decisions, the Ninth Circuit has summarized the Rule 12(b)(6) standard as
 8
     follows: “In sum, for a complaint to survive a motion to dismiss, the nonconclusory
 9
     factual content, and reasonable inferences from that content, must be plausibly
10
     suggestive of a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572
11
     F.3d 962, 969 (9th Cir. 2009) (internal quotation marks omitted). The plaintiff’s
12
     complaint “must contain sufficient factual matter, accepted as true, to ‘state a claim to
13
     relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
14
     quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially
15
     plausible “when the plaintiff pleads factual content that allows the court to draw the
16
     reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556
17
     U.S. at 678.
18
     VI.   CODE OF CIVIL PROCEDURE SECTION 425.17(c) EXCLUDES
19         DEFENDANTS’ COMMERCIAL SPEECH FROM ANTI-SLAPP
20         PROTECTION
21         California Code of Civil Procedure section 425.17(c) provides:
22                  Section 425.16 does not apply to any cause of action brought
23                  against a person primarily engaged in the business of selling or
                    leasing goods or services, including, but not limited to,
24                  insurance, securities, or financial instruments, arising from any
25                  statement or conduct by that person if both of the following
                    conditions exist:
26

27                  (1)   The statement or conduct consists of representations of

28                                     - 10 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
                     UNDER CAL. CODE OF CIVIL PROCEDURE § 425.16
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 1                fact about that person’s or a business competitor’s business
 2                operations, goods, or services, that is made for the purpose of
                  obtaining approval for, promoting, or securing sales or leases of,
 3                or commercial transactions in, the person’s goods or services, or
 4                the statement or conduct was made in the course of delivering
                  the person’s goods or services.
 5

 6                (2) The intended audience is an actual or potential buyer or
                  customer, or a person likely to repeat the statement to, or
 7                otherwise influence, an actual or potential buyer or customer[ ] .
 8                ...
 9         The California Legislature enacted Section 425.17, which exempts certain types
10   of actions from the scope of anti-SLAPP motions, to address a “disturbing abuse” of the
11   anti-SLAPP motion. Cal. Civ. Proc. Code § 425.17(a); Brenton v. Metabolife
12   International, Inc., 116 Cal.App.4th 679, 687 (2004). Section 425.17 is intended to
13   apply to commercial disputes. Brill Media Co., LLC v. TCW Group, Inc., 132
14   Cal.App.4th 324, 342 (2005).
15         “Under the two-pronged test of section 425.16, whether a section 425.17
16   exemption applies is a first prong determination.” JAMS, Inc. v. Superior Court, 1
17   Cal.App.5th 984, 993 (2016). If a plaintiff demonstrates that his claims fall within the
18   commercial speech exemption, the anti-SLAPP analysis ends and the court must deny
19   the motion. Demetriades v. Yelp, Inc., 228 Cal.App.4th 294, 305 fn.8 (2014).
20         “The legislative history indicates [that the commercial speech exemption under
21   Cal. Civ. Proc. Code § 425.17(c)] is aimed squarely at false advertising claims and is
22   designed to permit them to proceed without having to undergo scrutiny under the anti-
23   SLAPP statute. Proponents of the legislation argued that corporations were improperly
24   using the anti-SLAPP statute to burden plaintiffs who were pursuing unfair competition
25   or false advertising claims.” Demetriades, 228 Cal.App.4th at 209. The court in
26   Demetriades discussed how to analyze whether commercial speech falls under the §
27   425.17(c) exemption:
28                                     - 11 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1                commercial speech generally or typically is directed to an
 2                audience of persons who may be influenced by that speech to
                  engage in a commercial transaction with the speaker or the
 3                person on whose behalf the speaker is acting. Speech in
 4                advertising format typically, although not invariably, is speech
                  about a product or service by a person who is offering that
 5                product or service at a price, directed to persons who may want,
 6                and be willing to pay for, that product or service . . . . Economic
                  motivation likewise implies that the speech is intended to lead to
 7                commercial transactions, which in turn assumes that the speaker
 8                and the target audience are persons who will engage in those
                  transactions, or their agents or intermediaries . . . . [f]inally, the
 9                factual content of the message should be commercial in
10                character.
11   Id., 309-310 (internal quotes and citations omitted).
12         The Complaint is based on tortious commercial speech by Defendants who are
13   business competitors of Plaintiff. After Defendants mention Plaintiff in their
14   publications, they state
15                Enter Quantum Stocks, a trusted resource for education and
16                camaraderie among like-minded traders. It has been our duty
                  since day one to provide our members with quality information
17                and services at a reasonable price to foster a community of
18                winning traders. We are tired of seeing innocent victims get
                  scammed by Arya Toufanian, and will not stop spreading
19                awareness to the matter until he is unable to scam again.
20   See Complaint, Ex. 1, p. 4.
21         In Park v. Board of Trustees, 2 Cal.5th 1057 (2017), the California Supreme
22   Court clarified that an anti-SLAPP motion must be denied where the protected activity
23   is incidentally involved. A court may strike a claim only if the petitioning activity itself
24   is the wrong complained of. In hybrid cases where statements raise a public issue or
25   concern that relates to or leads to challenged conduct, the issues of free speech and
26   alleged unlawful conduct are interwoven and so are issues with the application of the
27   SLAPP. But a “claim may be struck only if the speech or petitioning activity itself is
28                                     - 12 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
                     UNDER CAL. CODE OF CIVIL PROCEDURE § 425.16
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 1
     the wrong complained of, and not just evidence of liability or a step leading to some
 2
     different act for which liability is asserted.” Park, 2 Cal.5th at 1060; see also Cal. Civ.
 3
     Proc. Code § 425.16(a).
 4
           Plaintiff’s action is exempt from anti-SLAPP application because:
 5
           (1) Plaintiff’s claims are brought against a person and entity engaged in the
 6
     business of providing services the same or similar services to Plaintiff, i.e., investments
 7
     and investment advice, thus satisfying Code of Civil Procedure section 425.17(c);
 8
           (2) “The statement or conduct [of Defendants] consists of representations of fact
 9
     about a business competitor’s [Plaintiff’s] business operations . . . or services, that is
10
     made for the purpose of . . . promoting, or securing sales . . . of, or commercial
11
     transactions in, [Defendants’] services, or the statement or conduct was made in the
12
     course of delivering [Defendants’] . . . services,” thus satisfying the condition set forth
13
     in Section 425.17(c)(1); and
14
           (3) The intended audience for Defendants’ publications at issue is an “actual or
15
     potential buyer or customer, or a person likely to repeat the statement to, or otherwise
16
     influence, an actual or potential buyer or customer,” thus satisfying the condition in
17
     Section 425.17(c)(2).
18
           Plaintiff’s claims are directly based on publications mentioning and concerning
19
     Plaintiff, made by Defendants as direct business competitors of Plaintiff. Compl. ¶¶ 4,
20
     10-13. Defendants made their publications of false facts about Plaintiff for the purpose
21
     of promoting or delivering sales of Defendants’ services in competition with Plaintiff.
22
     Id. passim, ¶¶ 51, 52, Exs. 1 & 2 to the Complaint. And, through Defendants’
23
     publications and their platforms, they intended that the audience for the publications
24
     were Plaintiff’s and Defendants’ actual or potential buyers or customers of their
25
     services, or persons likely to repeat the publications to, or otherwise influence,
26
     Plaintiff’s or Defendants’ actual or potential buyers or customers. Id. passim, Exs. 1 &
27
     2. Accordingly, the Complaint is exempt from dismissal under California’s anti-SLAPP
28                                     - 13 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
                     UNDER CAL. CODE OF CIVIL PROCEDURE § 425.16
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 1
     statute, and therefore the Court should deny the Motion pursuant to Section 425.17(c).
 2
   VII. DEFENDANTS’ PUBLICATIONS WERE NOT MADE IN
 3      FURTHERANCE OF THEIR RIGHTS OF FREE SPEECH — THEY ARE
 4      PATENTLY DEFAMATORY AND UNFAIRLY COMPETITIVE
 5      In FilmOn.com Inc. v. DoubleVerify Inc., 7 Cal.5th 133 (2019), the Supreme

 6   Court of California defined when an act or statement is made “in connection with a

 7   public issue” under Cal. Civ. Proc. Code § 425.16(b)(1). “In articulating what

 8   constitutes a matter of public interest, courts look to certain specific considerations,

 9   such as whether the subject of the speech or activity ‘was a person or entity in the

10   public eye’ or ‘could affect large numbers of people beyond the direct participants’…

11   and whether the activity occurred in the context of an ongoing controversy, dispute or

12   discussion … or affected a community in a manner similar to that of a governmental

13   entity.” FilmOn.com Inc., supra, 7 Cal.5th at 145-46. “[I]t is not enough that the

14   statement refer to a subject of widespread public interest; the statement must in some

15   manner itself contribute to the public debate.” Id. at 150 (italics added). “The catchall

16   provision [of § 425.16(e)(4)] demands some degree of closeness between the challenged

17   statements and the asserted public interest.” Id. “[A] statement is made ‘in connection

18   with’ a public issue when it contributes to—that is, ‘participat[es]’ in or furthers—some

19   public conversation on the issue,” with “considerations of context—including audience,

20   speaker, and purpose.” FilmOn.com Inc., supra, 7 Cal.5th at 151-152.

21         “[A] matter of concern to the speaker and a relatively small, specific audience is

22   not a matter of public interest, and … a person cannot turn otherwise private

23   information into a matter of public interest simply by communicating it to a large

24   number of people.” Rand Resources, LLC v. City of Carson, 6 Cal.5th 610, 621 (2019).

25   A statement is one of public interest “when the statement or conduct concerns a person

26   or entity in the public eye, … involves conduct that could directly affect a large number

27   of people beyond the direct participants … and … when it involves a topic of

28                                     - 14 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     widespread, public interest.” Id. at 621. Further, “[a]t a sufficiently high level of
 2
     generalization, any conduct can appear rationally related to a broader issue of public
 3
     importance. What a court scrutinizing the nature of speech in the anti-SLAPP context
 4
     must focus on is the speech at hand, rather than the prospects that such speech may
 5
     conceivably have indirect consequences for an issue of public concern.” Id. at 625.
 6
     Defendants should not be allowed to immunize false or misleading statements from
 7
     litigation simply by including references to vague or general public issues. See Nagel v.
 8
     Twin Laboratories, Inc., 109 Cal.App.4th 39, 47 (2003).
 9
           Some California courts have adhered to five guiding principles to assist in
10
     determining what constitutes an issue of “public interest” under § 425.16: “(1) public
11
     interest does not equate with mere curiosity; (2) a matter of public interest should be a
12
     matter of concern to a substantial number of people, not to a relatively small, specific
13
     audience; (3) there should be some degree of closeness between the statements at issue
14
     and the asserted public interest; (4) the focus of the speaker’s conduct should be the
15
     public interest rather than an effort to ‘gather ammunition’ for a private controversy;
16
     and (5) those charged with defamation cannot, by their own conduct, create their own
17
     defense by making the claimant a public figure.” Olaes v. Nationwide Mutual Ins. Co.,
18
     135 Cal.App.4th 1501, 1510-11 (2006), discussed with approval by Asia Economic
19
     Institute v. Xcentric Ventures, LLC, 2010 WL 11462989 *7, (C.D. Cal., April 20, 2010)
20
     (denying anti-SLAPP motion).
21
           The Motion relies on Makaeff v. Trump University, LLC, 715 F.3d 254, 261-263
22
     (9th Cir. 2013) to argue that Defendants’ publications were privileged “consumer
23
     protection information” made “in connection with a public issue.” Makaeff and the
24
     opinion it relies on are distinguishable, because unlike in those cases, Defendants’
25
     publications on their face were not “provided in the context of information helpful to
26
     consumers.” Id. at 262. In finding the defendant had satisfied the first prong of anti-
27
     SLAPP analysis, the court in Wilbanks v. Wolk, 17 Cal.Rptr.3d 497, 507-08 (2004),
28                                     - 15 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     found that the defendant’s “statements . . . were not simply a report of one broker’s
 2
     business practices, of interest only to that broker and to those who had been affected by
 3
     those practices.” But that is what Mr. Oreffice has done with his publications: targeted
 4
     his statements to and about Mr. Toufanian and his customers.
 5
           Defendants do not satisfy their burden under the first prong of the anti-SLAPP
 6
     statute to make a “specific showing” that Defendants’ publications concern a public
 7
     issue or an issue of public interest. There is no evidence that Plaintiff voluntarily
 8
     injected himself into a controversy or subject of widespread, public interest. The
 9
     Motion avers that Defendants’ publications were made “to spread awareness of
10
     overpriced equity trading schemes, and to warn consumers of Mr. Toufanian’s business
11
     practices.” Motion, 04:09-10. But Defendants offer no proof for their supposition, nor
12
     does the Motion explain what vague “business practices” Defendants were attempting
13
     to warn consumers about, let alone why, if Plaintiff was engaged in merely marketing
14
     “overpriced equity trading schemes,” Defendants needed to accuse him of running a
15
     “scam” and a “pyramid scheme” against Plaintiff’s customers. Accusing Plaintiff of
16
     being merely greedy might have sufficed under the circumstances.
17
           Defendants’ primary intent with their publications was hardly some lofty public
18
     good or to share awareness of a widespread concern or issue. Instead, and more
19
     germane to the present proceeding, Defendants published their statements “knowingly
20
     and intentionally, with malice, and without any evidence to support them or recklessly
21
     without first conducting a reasonable and sufficient investigation into whether their
22
     publications were true or false. Defendants published their statements . . . with the
23
     intent to vex, injure or annoy Plaintiff.” Compl. ¶ 33. The Court should not permit
24
     Defendants to hide their very harmful and public statements behind a veil of feigned
25
     altruism.
26
     VIII. THE COMPLAINT STATES VALID CLAIMS
27
           Under California law, to state a prima facie case of defamation, a plaintiff must
28                                     - 16 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     show (1) “the intentional publication” of (2) “a statement of fact” that (3) is “false,” (4)
 2
     “unprivileged,” and (5) “has a natural tendency to injure or which causes special
 3
     damage.” Smith v. Maldonado, 72 Cal.App.4th 637, 645 (1999); see also Judicial
 4
     Council of Cal. Civil Jury Instructions (2020 edition), nos. 1700 et seq. The Complaint
 5
     satisfies each of these elements.
 6
           A.     Defendants intentionally published the statements.
 7
           “Defendants knowingly and intentionally directed the defamatory publications
 8
     about Plaintiff . . . to persons within the State of California, including to Plaintiff’s
 9
     friends, acquaintances, customers, and/or work colleagues.” Compl. ¶ 2. Defendants
10
     knew, or had reason to know, that their publications would or were likely to reach and
11
     be read by California residents. Id., ¶¶ 2, 16, 22.
12
           B.     Defendants made false statements of fact about Plaintiff.
13
           Plaintiff alleges that Defendants published false statements. The “publications
14
     lack evidentiary support” (Compl. ¶ 30), and they “falsely claim Plaintiff is associated
15
     or affiliated with illegal or unlawful conduct.” (Compl. ¶ 42). Defendants admit their
16
     publications assert that “Plaintiff was engaged in a ‘scam’ with a company called
17
     AryaStocks, including details about the pricing packages, the contents of AryaStocks
18
     and why the company is engaged in fraudulent activity.” Motion, 04:03-05, 08:08-12.
19
           C.     Defendants’ publications are not privileged and are malicious.
20
           See the above discussion of free speech and anti-SLAPP analysis. Defendants
21
     allege only the privilege of constitutionally protected free speech subject to anti-SLAPP
22
     protection; they do not assert any statutory privilege. The Complaint also alleges that
23
     Defendants acted with malice. Compl. ¶¶ 33, 46. Malice can be established by “a
24
     showing that the defendant lacked reasonable grounds for belief in the truth of the
25
     publication and therefore acted in reckless disregard of the plaintiff’s rights.” Lundquist
26
     v. Reusser, 7 Cal.4th 1193, 1213 (1994).
27
           D.     Plaintiff is a private figure.
28                                     - 17 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
                     UNDER CAL. CODE OF CIVIL PROCEDURE § 425.16
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 1
           If plaintiff is not a public figure, then plaintiff may establish liability on proof of
 2
     mere negligence, with no need to show malice. See Brown v. Kelly Broadcasting Co.
 3
     48 Cal.3d 711, 747 (1989). There are two types of public figures: all-purpose public
 4
     figures and limited-purpose public figures.
 5
           All-purpose public figures are those persons who “occupy positions of such
 6
     persuasive power and influence that they are deemed public figures for all purposes.”
 7
     Gertz v. Robert Welch, Inc., 418 U.S. 323, 345 (1974) (Gertz). In order for a plaintiff to
 8
     be deemed an all-purpose public figure, there must be “clear evidence of general fame
 9
     or notoriety in the community, and pervasive involvement in the affairs of society . . . .”
10
     Id. at 352. Arya Toufanian is clearly not an all-purpose public figure. None of
11
     Defendants’ proffered evidence even suggests this. It shows only that Mr. Toufanian is
12
     the victim of hearsay and innuendo.
13
           Limited-purpose public figures are those who have “thrust themselves to the
14
     forefront of particular public controversies in order to influence the resolution of the
15
     issues involved.” Gertz, 418 U.S. at 345. This type of public figure “voluntarily injects
16
     himself or is drawn into a particular public controversy and thereby becomes a public
17
     figure for a limited range of issues.” Id. at 351 (italics added). A plaintiff’s involuntary
18
     involvement in a matter of public interest does not establish that he is a limited-purpose
19
     public figure. See, e.g., In Wolston v. Reader’s Digest Assn., 443 U.S. 157 (1979).
20
           There are three elements to determine if someone is a limited public figure:
21

22
                  First, there must be a public controversy, which means the issue
                  was debated publicly and had foreseeable and substantial
23                ramifications for nonparticipants. Second, the plaintiff must
24
                  have undertaken some voluntary act through which he or she
                  sought to influence resolution of the public issue. In this regard
25                it is sufficient that the plaintiff attempts to thrust him or herself
26                into the public eye. And finally, the alleged defamation must be
                  germane to the plaintiff’s participation in the controversy.
27
     Ampex Corp. v. Cargle, 128 Cal.App.4th 1569, 1577 (2005) (quotation marks omitted)
28                                     - 18 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1
     (emphasis added).
 2
           The California Supreme Court has rejected the argument that simply by doing
 3
     business with the public a plaintiff is no longer a private person. In Vegod Corp. v.
 4
     American Broadcasting Companies, Inc., 25 Cal.3d 763 (1979) (Vegod) plaintiffs
 5
     conducted the going-out-of-business sale for City of Paris, a landmark department store
 6
     in San Francisco. Defendants published statements charging plaintiffs with deceiving
 7
     the public in connection with the sale. The court determined that even though the
 8
     demise of City of Paris was a matter of public controversy, the plaintiffs had not thrust
 9
     themselves into that controversy merely by advertising and selling goods to the public.
10
     “Criticism of commercial conduct does not deserve the special protection of the actual
11
     malice test. Balancing one individual’s limited First Amendment interest against
12
     another’s reputation interest, we conclude that a person in the business world
13
     advertising his wares does not necessarily become part of an existing public
14
     controversy. It follows those assuming the role of business practice critic do not
15
     acquire the First Amendment privilege to denigrate such entrepreneur.” Id. at 770.
16
           Criticism of a plaintiff’s business practices alone cannot create a public
17
     controversy, particularly where the defendant is solely responsible for the supposed
18
     controversy. See, e.g., In Hutchinson v. Proxmire, 443 U.S. 111, 135 (1979) (defendant
19
     may not create his own defense by making the plaintiff a public figure). A “‘fairly high
20
     threshold of public activity’ is necessary to elevate a person to public figure status.
21
     (Tribe, American Constitutional Law (2d ed.1988) § 12–13, p. 881.)” Brown v. Kelly
22
     Broadcasting Co., supra, 48 Cal.3d at 745.
23
           As Witkin has noted
24

25
                  Selling advertised goods to the public did not make plaintiffs
                  “public figures,” or make them part of an existing public
26                controversy. And criticism of commercial conduct does not
27
                  deserve the special protection of the actual malice test. “[T]hose
                  assuming the role of business practice critic do not acquire the
28                                     - 19 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1                First Amendment privilege to denigrate such entrepreneur.” (25
 2                C.3d 770.) (See Carver v. Bonds (2005) 135 C.A.4th 328, 352,
                  37 C.R.3d 480 [podiatrist was not limited-purpose public figure
 3                with respect to newspaper’s reports of his alleged false
 4                advertising; criticism of commercial conduct does not deserve
                  special protection of actual malice test . . . .].
 5
     5 Witkin, Summary 11th Torts, § 709 (2020).
 6
           There is no evidence that Mr. Toufanian is a limited-purpose public figure.
 7
     Defendants fail to present evidence of any particular controversy into which Plaintiff
 8
     injected himself before filing this lawsuit. To the extent there is any controversy about
 9
     Mr. Toufanian’s business practices, it appears those practices concerned promoting
10
     college parties (not equities trading) and that Mr. Oreffice had a significant hand in
11
     creating that controversy, and for self-serving reasons. Defendants also fail to present
12
     evidence that Plaintiff’s business practices were debated publicly or had foreseeable and
13
     substantial ramifications for parties other than Plaintiff or Defendants. The Court
14
     should find that Plaintiff remains a private figure.
15
           E.     Defendants’ publications are not a matter of public concern.
16
           Whether a matter is of public concern is sometimes difficult to determine.
17
     Carney v. Santa Cruz Women Against Rape, 221 Cal.App.3d 1009, 1020 (1990).
18
     Publishing material in the mass media creates public interest in its contents. Brown v.
19
     Kelly Broadcasting Co., supra, 48 Cal.3d at 752. But public interest is not the test for
20
     determining if plaintiff must plead and prove malice by defendant. “It is speech on
21
     ‘“matters of public concern”’ that is ‘at the heart of the First Amendment’s protection.’”
22
     Dun & Bradstreet, 472 U.S. 749, 758–759 (1985) (citations omitted). Whether the
23
     speech involved is of public concern is determined by analyzing its “content, form, and
24
     context . . . as revealed by the whole record.” Id. at 761 (internal quotes omitted).
25
           Even if Defendants’ statements could arguably be considered matters of public
26
     concern, as they may loosely and generally touch on the subject of securities fraud, as
27

28                                     - 20 -
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 1
     suggested by the Motion, viewed in full context, Defendants’ speech reflects only their
 2
     personal vendetta having little to nothing to do with legitimate issues of public concern.
 3
     Defendants’ publications are self-serving, not made in the public interest or concern.
 4
            F.     Defendants’ publications have a natural tendency to injure.
 5
            Defendants publicly accuse Mr. Toufanian of operating a “scam” and defrauding
 6
     customers through a “pyramid scheme.” The Merriam Webster Dictionary defines a
 7
     “scam” as a “a fraudulent or deceptive act or operation.” See https://www.merriam-
 8
     webster.com/dictionary/scam, accessed July 2, 2020. Pyramid schemes are commonly
 9
     associated with criminal activity. See, e.g., U.S. v. Seng Tan, 674 F.3d 103, 104–105
10
     (1st Cir. 2012) (citing 18 U.S.C. §§ 1341, 1957, 371 and affirming defendants’
11
     convictions of mail-fraud, money-laundering, and conspiracy crimes “committed in
12
     furtherance of a classic pyramid scheme” that swindled people out of money); see also
13
     Pennsylvania’s Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201-1
14
     et seq. (defining “pyramid scheme”); and Arizona statute ARS 44-1731, et seq.
15
     (“pyramid promotional scheme”).2 There are few subjects for online publication that
16
     could more naturally injure the business reputation and integrity of a person, especially
17
     where the impugning statements are made by a business competitor and refer and relate
18
     directly to Mr. Toufanian’s business.
19
            G.     Plaintiff properly alleges “special” damages to support his claim for
20                 libel per quod.
21          Plaintiff alleges special damages at paragraphs 42, 44 and 45 of the Complaint.
22          H.     Plaintiff states facts showing causation of damages.
23          The Complaint alleges causation of harm. See Compl. ¶¶ 31, 32, 44, 45, 53-55.
24          I.     Plaintiff properly alleges standing for a claim of unfair competition.
25          California’s Unfair Competition Law (UCL) prohibits “any unlawful, unfair or
26
     2 The Federal Bureau of Investigation’s website describes conduct that constitutes a “pyramid scheme.”
27   https://www.fbi.gov/scams-and-safety/common-scams-and-crimes/pyramid-schemes, accessed and
     retrieved June 30, 2020.
28                                                   - 21 -
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 1
     fraudulent business act or practice and unfair, deceptive, untrue or misleading
 2
     advertising . . . .” Cal. Bus. & Prof. Code § 17200. “The UCL covers a wide range of
 3
     conduct. It embraces anything that can properly be called a business practice and that at
 4
     the same time is forbidden by law.” Medical Marijuana, Inc. v. ProjectCBD.com, 46
 5
     Cal.App.5th 869, 896 (2020) (quotations and citations omitted). The UCL borrows
 6
     violations from other laws by making them independently actionable as unfair
 7
     competitive practices. Id. A practice may also violate the UCL even if it is not
 8
     prohibited by another statute. Id. Unfair and fraudulent practices are alternate grounds
 9
     for relief. Id. Plaintiff has sufficiently pled defamation against Defendants, which is an
10
     unlawful and unfair act that supports a UCL claim.
11
           Because the Complaint properly states defamation, Plaintiff’s UCL claim stands
12
     with the alleged defamation, if the UCL claim independently alleges that Plaintiff
13
     “suffered injury in fact and has lost money or property” as a result of the unfair
14
     competition (i.e., the defamation). See Californians for Disability Rights v. Mervyn’s,
15
     LLC, 39 Cal.4th 223, 227 (2006). The Complaint does so at paragraphs 53-55. The
16
     UCL standard is satisfied when the plaintiff has “expended money due to the
17
     defendant’s acts of unfair competition.” See Hall v. Time Inc., 158 Cal.App.4th 847,
18
     854 (2008). Moreover, “[a] person whose property is diminished by a payment of
19
     money wrongfully induced is injured in his property.” Chattanooga Foundry v.
20
     Atlanta, 203 U.S. 390, 396 (1906), quoted by Clayworth v. Pfizer, Inc., 49 Cal.4th 758,
21
     788-89 (2010) (UCL case). “Defendants’ wrongful acts [of defamation] are ongoing
22
     and certain to continue. Defendants have not removed the above alleged defamatory
23
     publications from the Internet or social media and those publications continue to be
24
     viewable to and viewed by the public.” Compl. ¶ 56. Plaintiff will assume “costs for
25
     corrective advertising or publications to members of the public through the Internet and
26
     on social media platforms.” Compl., Prayer for Relief no. 7.
27

28                                     - 22 -
     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ SPECIAL MOTION TO STRIKE COMPLAINT
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 1   IX.   A CONTINUANCE FOR DISCOVERY IS PROPER IF DEFENDANT
 2         LATER ASSERTS THE COURT SHOULD WEIGH EVIDENCE

 3         The Ninth Circuit’s opinion in Planned Parenthood unambiguously states that

 4   “discovery must be allowed” before the court rules on a defendant’s factual challenges

 5   in an anti-SLAPP motion. Planned Parenthood, supra, 890 F.3d at 834. If Defendants

 6   reverse course and assert that the Court should weigh the Motion under Federal Rule of

 7   Civil Procedure 56, then the Court should permit Plaintiff to conduct discovery to

 8   further develop evidence to further support his claims.

 9   X.    IF THE COURT IS INCLINED TO GRANT THE MOTION IN ANY
           RESPECT, PLAINTIFF ALSO REQUESTS LEAVE TO AMEND HIS
10         COMPLAINT
11         A federal court cannot grant an anti-SLAPP motion without leave to amend to the
12   extent dismissal with prejudice “would directly collide with” the liberal policy in favor
13   of amendments under Rule 15(a) of the Federal Rules of Civil Procedure.” Verizon
14   Delaware, Inc. v. Covad Communications Co., 377 F.3d 1081, 1091 (9th Cir. 2004),
15   quoted by Tensor Law P.C. v. Rubin, 2019 WL 3249595, at *2 fn. 1 (C.D. Cal., Apr. 10,
16   2019, No. 2:18-CV-01490-SVW-SK) (leave to amend required when granting an anti-
17   SLAPP motion). If the Court grants any portion of the Motion, Plaintiff requests leave
18   to amend his Complaint to address any pleadings deficiencies.
19
     XI.   DEFENDANTS’ CLAIMED ATTORNEYS’ FEES ARE IMPROPER AND
20         EXCESSIVELY HIGH
21         A defendant who prevails on an anti-SLAPP motion “shall be entitled to recover
22   his or her attorney’s fees and costs,” with limited exceptions. Cal. Civ. Proc. Code §
23   425.16(c)(1). The trial court has broad discretion, however, to determine the
24   reasonableness of attorney fees under the anti-SLAPP statute, to be determined from a
25   consideration of such factors as the nature of the litigation, the complexity of the issues,
26   the experience and expertise of counsel and the amount of time involved. Kearney v.
27   Foley and Lardner, 553 F.Supp.2d 1178, 1184-85 (S.D. Cal. 2008) (applying California
28                                     - 23 -
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 1
     law). A fees award must be reasonable in amount. Manufactured Home Cmtys., Inc. v.
 2
     County of San Diego, 655 F.3d 1171, 1176 (9th Cir. 2011). The court should reduce a
 3
     request for fees if the claimed hours are “excessive, redundant, or otherwise
 4
     unnecessary.” Kearney v. Foley and Lardner, 553 F.Supp.2d at 1185. Reasonableness
 5
     also depends in part on “the success of the attorney’s efforts.” Id.
 6
           Though Defendants characterize the Motion as of the anti-SLAPP variety, in
 7
     reality it was a pre-discovery motion to dismiss at the pleadings stage under Rule
 8
     12(b)(6), for which defendants are not entitled to attorney’s fees. The Court should
 9
     reject Defendants’ request for attorneys’ fees on this basis alone, or at least consider the
10
     true nature of the Motion in significantly reducing the amount of fees claimed.
11
           The Court should also reduce the amount of any fees awarded based on the
12
     clearly excessive amount of time that defense counsel asserts they spent on the Motion.
13
     See Declaration of Robert Tauler ¶¶ 3, 4, Ex. A (63.2 total hours). Plaintiff’s counsel
14
     spent a total of 12.5 hours in preparing all of Plaintiff’s papers to oppose the Motion.
15
     See Prout Decl. ¶ 6.
16
           Moreover, Defendants improperly claim “attorney’s fees” for the work of staff.
17
     See Declaration of Robert Tauler ¶¶ 5, 6. Defendants do not cite legal authority for this
18
     overhead, whether as “fees” or costs permitted under the Cal. Code of Civil Procedure
19
     or FRCP. The Court should further strike at least $1,670 from the fees request.
20
           Finally, if the Court grants the Motion in part and denies in part, the Court should
21
     determine if any award of fees is required and what amount is reasonable. Defendants
22
     on anti-SLAPP motions are not entitled as matter of right to all of the attorney fees
23
     claimed or incurred on successful and unsuccessful claims merely because attorney
24
     work on those claims was overlapping. Mann v. Quality Old Time Service, Inc., 139
25
     Cal.App.4th 328, 344-45 (2006). Instead, courts consider the defendant’s relative
26
     success on the motion in achieving his objective, and appropriately reduce the fees
27
     requested. Id.
28                                     - 24 -
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 1
     XII. CONCLUSION
 2
           Based on the foregoing, plaintiff Arya Toufanian asks the Court to DENY the
 3
     special motion to strike the Complaint. Plaintiff requests an order that Defendants
 4
     answer the Complaint within ten (10) days from the Court’s ruling on the Motion. If,
 5
     however, the Court is inclined to grant the Motion as to any portion of the Complaint,
 6
     Plaintiff requests leave to amend his pleading with at least twenty-one (21) days leave.
 7
     Should the Court consider the Motion as brought on a Rule 56 basis, Plaintiff requests
 8
     leave to conduct discovery to support his claims and the opportunity to further brief this
 9
     Opposition, before the Court rules on the Motion. Plaintiff anticipates he would need at
10
     least ninety (90) days to propound written discovery and account for any necessary
11
     meeting and conferring or discovery motion activity.
12

13    DATED: July 2, 2020                         WEINBERG GONSER LLP
14
                                              By: /s/ Shanen R Prout
15                                               Lee M. Weinberg
16                                               Shanen R. Prout
                                                 Bryan B. Bitzer
17                                               Attorneys for plaintiff Arya Toufanian
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28                                     - 25 -
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